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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                §
    In re:                      §                                          Chapter 11
                                §
    NEWSCO INTERNATIONAL ENERGY §                                          Case No. 19-36767 (DRJ)
    SERVICES USA INC.,          §
               Debtor.          §


                       STIPULATION REGARDING PROOF OF CLAIM
                       OF NATIONAL OILWELL VARCO LLP [POC #42]

        Newsco International Energy Services USA Inc., Debtor and Debtor-in-Possession

("Debtor") and National Oilwell Varco LLP (“NOV”) hereby enter into this

stipulation regarding the proof of claim filed by NOV in this case.

        WHEREAS, NOV filed proof of claim docketed in the Court’s register as

Claim 42-1 in the amount of $268,799.33 arising out of a judgment that NOV

obtained against Debtor in the District Court of Harris County, Texas on or about

November 21, 2019 (the “Proof of Claim”);

        WHEREAS, NOV filed the Proof of Claim as a secured claim arising out of

an alleged judgment lien;

        WHEREAS, the parties agree that the amount of the claim is accurate but that

the claim is a general unsecured claim, not a secured claim; and

        WHEREAS, the parties desire to avoid the cost and delay of the filing and

resolution of an objection to the Proof of Claim.




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        NOW THEREFORE, the parties stipulate that National Oilwell Varco LLP

shall have an allowed unsecured claim in this case in the amount of $268,799.33 and

that, to the extent that the Proof of Claim is inconsistent with this stipulation, it is

deemed to be withdrawn.

     DATED:              December 31, 2020.




                                                             Respectfully submitted,

                                                             By: /s/ Stephen A. Roberts
                                                             STEPHEN A. ROBERTS
                                                             soberts@clarkhill.com
                                                             CLARK HILL STRASBURGER
                                                             720 Brazos, Suite 700
                                                             Austin, TX 78701
                                                             (512) 499-3624

                                                             ATTORNEYS FOR DEBTOR, NEWSCO
                                                             INTERNATIONAL ENERGY SERVICES
                                                             USA INC.


                                                             By: /s/ Brian A. Baker
                                                             BRIAN A. BAKER
                                                             brian.baker@stacybakerlaw.com
                                                             STACY & BAKER, P.C.
                                                             1010 Lamar Street, Suite 550
                                                             Houston, TX 77002
                                                             (713) 527-9991

                                                             ATTORNEYS FOR NATIONAL
                                                             OILWELL VARCO LLP




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